2:22-cv-02211-BHH-MGB                                                             Date Filed 10/07/22                                               Entry Number 26                                                 Page 1 of 1




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 PLAINTIFF                   COURT CASE NUMBER
 Nelson L. Bruce,                                                                                                                                                2:22-cv-0221 l-BHH•MGB
 DEFENDANT                                                                                                          .._.L,.)j I,,;. , ( C                         TYPE Of PllOCESS
 PENTAOON FEDERAL CREDIT UNION ec al.                                                                                                                            Civil
                           NAME Of INDIVIDUAi,,, COMPANY, CORPORATION. ETC TO SERVF. OR DF.SCIUmON OF PllOPUTY TO SEIZE OR CONDEM ~
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    AT { ADDlESS (Smn or Rl-'D, Apo,,_ No.. City, Slot, dfld Zif' Coth}                   :......\
                           2930 Eisenhower Avenue, AleX1111dria, Vir&inia 22313                                                                                                                                                              \
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                 ~Ison L. Bruce                                                                                                                             Number or parties'° be
                    c/o P.O. Box 334S                                                                                                                       served In lhiS cue                          4
                    Summerville, South Carolina 29484
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    Contact information number; (724) 473-6333                                                                                                                                                     ~                 N          Pl
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